                   IN THE UNITED STATES DISTRICT COURT FOR THE
                               DISTRICT OF COLUMBIA

BRIENNA L. BUSTAMANTE, a U.S.
Citizen,
                                            Case No. 1:18-cv-2068
     7531 Antioch Road
     Overland Park, KS 66204, and

MOHAMMED SOGHAR, her husband,

     N106 Lot. Toba 2 Rue El Kenadsa
     Bouarfa, Oujda, Morocco 61200

     Plaintiffs,

v.

UNITED STATES DEPARTMENT OF
HOMELAND SECURITY,

Serve: Office of the General Counsel
       Department of Homeland Security
       Mail Stop 3650
       Washington, D.C. 20528

UNITED STATES CITIZENSHIP AND
IMMIGRATION SERVICES,

Serve: U.S. Citizenship & Immigration
       Services
       425 I. Street, N.W., Room 6100
       Washington, D.C. 20536

UNITED STATES DEPARTMENT OF
STATE,

Serve: Executive Office
       Office of the Legal Adviser
       Suite 5.600
       600 19th St. NW
       Washington, DC 20522
U.S. CONSULATE, Casablanca, Morocco,

Serve: Executive Office
       Office of the Legal Adviser
       Suite 5.600
       600 19th St. NW
       Washington, DC 20522

KIRSTJEN NIELSEN, Secretary of the
Department of Homeland Security,

Serve: Office of the General Counsel
       Department of Homeland Security
       Mail Stop 3650
       Washington, D.C. 20528

L. FRANCIS CISSNA, Director of the
United States Citizenship and Immigration
Services,

Serve: U.S. Citizenship & Immigration
       Services
       425 I. Street, N.W., Room 6100
       Washington, D.C. 20536

MICHAEL POMPEO, United States
Secretary of State,

Serve: Executive Office
       Office of the Legal Adviser
       Suite 5.600
       600 19th St. NW
       Washington, DC 20522

and;

JENNIFER RASAMIMANA, Consul
General of the United States at the U.S.
Consulate, Casablanca, Morocco,

Serve: Executive Office
       Office of the Legal Adviser
       Suite 5.600
       600 19th St. NW

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       Washington, DC 20522

  Defendants.


  COMPLAINT IN THE NATURE OF MANDAMUS ARISING FROM DEFENDANTS’
   REFUSAL TO ADJUDICATE PLAINTIFFS’ IMMIGRANT VISA APPLICATION

       COME NOW Plaintiffs, Brienna L. Bustamante and her husband Mohammed

Soghar, to respectfully request that this Honorable Court issue a writ of mandamus

compelling Defendants to adjudicate Mr. Soghar’s long-delayed spouse visa application.

                                        PARTIES


   1. Plaintiff Brienna L. Bustamante is a citizen of the United States. She was born in

Kansas City, Missouri and is therefore a citizen by operation of law.

   2. Plaintiff Mohammed Soghar is a citizen of Morocco, currently residing in

Morocco.

   3. Defendant Department of Homeland Security (hereinafter sometimes referred to

as “the DHS”) is the agency of the United States that is responsible for implementing

the petition for alien relative provisions of the law and assisting the DOS with

background and security checks.

   4. Defendant United States Citizenship and Immigration Services (hereinafter

sometimes referred to as “the USCIS”) is the component of the DHS that is responsible

for processing petitions filed on behalf of alien relatives seeking to file spouse visa

applications.

   5. Defendant Department of State (hereinafter sometimes referred to as “the DOS”)




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is the agency of the United States that is responsible for communicating with the DHS

and managing Defendant Embassy of the United States in Casablanca, Morocco, and

which is responsible for implementing the immigrant visa provisions of the law.

   6. Defendant Embassy of the United States in Casablanca, Morocco (hereinafter

sometimes referred to as “the Casablanca Embassy”) is a component of the DOS that is

responsible for processing immigrant visa applications and implementing the immigrant

and non-immigrant visa provisions of the law.

   7. Defendant Kirstjen Nielsen, the Secretary of the DHS, is the highest ranking

official within the DHS. Nielsen, by and through her agency for the DHS, is responsible

for the implementation of the Immigration and Nationality Act (hereinafter sometimes

referred to as “the INA”), and for ensuring compliance with applicable federal law,

including the Administrative Procedures Act (hereinafter sometimes referred to as “the

APA”). Nielsen is sued in her official capacity as an agent of the government of the

United States.

   8. Defendant L. Francis Cissna, Director of the USCIS, is the highest ranking official

within the USCIS. Cissna is responsible for the implantation of the INA and for ensuring

compliance with all applicable federal laws, including the APA. Cissna is sued in his

official capacity as an agent of the government of the United States.

   9. Defendant Michael Pompeo, the U.S. Secretary of State, is the highest ranking

official within the DOS. Pompeo is responsible for the implementation of the INA and

for ensuring compliance with applicable federal laws, including the APA. Pompeo is

sued in his official capacity as an agent of the government of the United States.


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   10. Defendant Jennifer Rasamimanana is the Consul General of the Consulate of the

United States in Casablanca, Morocco. Rasamimanana is being sued in her official

capacity as an agent of the government of the United States.

                                  JURISDICTION AND VENUE

   11. This Honorable Court has federal question jurisdiction over this cause pursuant

to 28 U.S.C. § 1331, as it raises claims under the Constitution of the United States, the

INA, 8 U.S.C. § 1101 et seq., and the APA, 5 U.S.C. § 701 et seq, in conjunction with

the Mandamus Act, ​28 USC ​§ ​1361​.

   12. Venue is proper pursuant to 28 U.S.C. § 1391(e)(1) because (1) Defendants are

agencies of the United States or officers or employees thereof acting in their official

capacity or under color of legal authority; (2) no real property is involved in this action,

and; (3) the Defendants all maintain offices within this district.

   13. This Honorable Court is competent to adjudicate this case, notwithstanding the

doctrine of consular non-reviewability, ​see United States ex rel. Knauff v. Shaughnessy,​

338 U.S. 537 (1950), because Defendants have not made any decision in regard to

Mohammed Soghar’s visa application.


                     FACTS COMMON TO ALL CLAIMS FOR RELIEF


   14. Brienna Bustamante is the spouse of Mohammed Soghar and is the spouse visa

petitioner for Mohammed Soghar’s immigrant visa application. She works in Kansas

City, Missouri as a nurse.

   15. Under federal immigration law, USCIS is authorized to approve a spouse visa


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application filed by a U.S. citizen and to issue a non-immigrant visa to allow the spouse

to enter the U.S.

   16. Mohammed Soghar is a Moroccan citizen, who currently lives in Morocco.

Morocco is a predominantly Muslim country.

   17. Brienna Bustamante filed a visa petition for her spouse with the USCIS on

December 7, 2016, one year and 9 months ago.

   18. Plaintiffs paid, and Defendants accepted, all applicable filing and visa fees.

   19. USCIS purportedly approved Plaintiffs’ I-130 spouse visa petition on April 26,

2017.

   20. The case should have then been sent to the National Visa Center (NVC), a part

of the U.S. Department of State for visa processing. Upon information and belief, the

NVC completed its processing of the case and sent it to the U.S. consulate in

Casablanca, Morocco for an interview.

   21. The State Department conducted Plaintiff Soghar’s visa interview on or about

September 14, 2017. Since that time, the agency has refused to issue a decision on

this case.

   22. Brienna Bustamante has made repeated attempts to obtain a decision in this

matter without involving this honorable Court. Plaintiff has made numerous service

requests. This has led nowhere.

                          FIRST CLAIM FOR RELIEF
         (Agency Action Unlawfully Withheld and Unreasonably Delayed)

   For their first claim for relief against all Defendants, Plaintiffs allege and state as



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follows:

   23. Plaintiffs reallege and incorporate by reference the foregoing paragraphs as

though fully set out herein.

   24. The APA requires that “[w]ith due regard for the convenience and necessity of

the parties or their representatives and within a reasonable time, each agency shall

proceed to conclude a matter presented to it.” 5 U.S.C. § 555(b). Section 555(b)

creates a non-discretionary duty to conclude agency matters.             ​Litton Microwave

Cooking Prods. v. NLRB​, 949 F.2d 249, 253 (8th Cir. 1991). A violation of this duty is a

sufficient basis for mandamus relief.

   25. The APA permits this Honorable Court to “compel agency action unlawfully

withheld or unreasonably delayed.” 5 U.S.C. § 706(1).

   26. The Defendants have refused to adjudicate Plaintiffs’ application and to issue the

requested visa application.

   27. The DOS regularly works with the DHS when carrying out background and

security investigations that are delayed by administrative processing.

   28. The DHS has a policy, known as the “Controlled Application Review and

Resolution Program” (hereinafter sometimes referred to as “the CARRP”) that

intentionally delays the applications of adherents of Soghar due to security concerns.

   29. On information and belief, Plaintiffs allege that the Defendants are intentionally

delaying a response to the DOS in regard to Mohammed Soghar’s visa application

pursuant to the CARRP program. Plaintiffs allege that this delay is due to Mohammed

Soghar being from a predominantly Muslim country.


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   30. Upon information and belief, Plaintiffs allege that the USCIS and the DOS are

and has been complicit in the delay in processing Mohammed Soghar’s visa application.

   31. Since 2008, the Defendants have used CARRP—an internal policy that has

neither been approved by Congress nor subjected to public notice and comment—to

investigate and adjudicate applications deemed to present potential “national security

concerns.” CARRP prohibits USCIS field officers from approving an application with a

potential “national security concern,” instead directing officers to deny the application or

delay adjudication—often indefinitely—in violation of the INA.

   32. CARRP’s definition of “national security concern” is far more expansive than the

security-related ineligibility criteria for immigration applications set forth by Congress in

the INA. Rather, CARRP identifies “national security concerns” based on deeply-flawed

and expansive government watchlists, and other vague and overbroad criteria that bear

little, if any, relation to the security-related statutory ineligibility criteria. The CARRP

definition casts a net so wide that it brands innocent, law-abiding residents, like

Plaintiffs—none of whom pose a security threat—as “national security concerns” on

account of innocuous activity and associations, and characteristics such as national

origin.

   33. Although the total number of people subject to CARRP is not known, USCIS data

reveals that between FY2008 and FY2012, more than 19,000 people from twenty-one

Muslim-majority countries or regions were subjected to CARRP.

   34. Plaintiffs allege that Mohammed Soghar’s application has been in administrative

processing beyond a reasonable time period for completing administrative processing of


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his visa application.

    35. The combined delay and failure to act on Mohammed Soghar’s immigrant visa

application is attributable to the failure of Defendants to adhere to their legal duty to

avoid unreasonable delays under the INA and the applicable rules and regulations.

    36. There are no alternative adequate or reasonable forms of relief available to

Plaintiffs.

    37. Plaintiffs have exhausted all administrative remedies available to them in pursuit

of a resolution of this matter, including repeatedly requesting the processing of their

case with the USCIS.

                               SECOND CLAIM FOR RELIEF
                        (Violation of Right to Due Process of Law)

    For their second claim for relief against all Defendants, Plaintiffs allege and state as

follows:

    38. Plaintiffs reallege and incorporate by reference the foregoing paragraphs as

though fully set out herein.

    39. The right to fundamental fairness in administrative adjudication is protected by

the Due Process Clause of the Fifth Amendment to the United States Constitution.

Plaintiffs may seek redress in this Court for Defendants’ combined failures to provide a

reasonable and just framework of adjudication in accordance with applicable law.

    40. The combined delay and failure to act by Defendants has violated the due

process rights of Plaintiffs.

    41. The combined delay and failure to act by Defendants has irrevocably harmed



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Plaintiffs by causing a loss of consortium between them, among other ways.

                                     REQUEST FOR RELIEF

        WHEREFORE, Plaintiffs Brienna A. Bustamante and Mohammed Soghar

request the following relief:

   1. That this Honorable Court assume jurisdiction over this action;

   2. Enter a judgment declaring that (a) CARRP violates the INA and its implementing

regulations; Article 1, Section 8, Clause 4 of the United States Constitution; the Fifth

Amendment to the United States Constitution; and the APA; and (b) Defendants

violated the APA by adopting CARRP without promulgating a rule and following the

process for notice and comment by the public;

   3. Enjoin Defendants, their subordinates, agents, employees, and all others acting

in concert with them from applying CARRP to the processing and adjudication of

Plaintiffs’ immigration benefit applications;

   4. Order Defendants to rescind CARRP because they failed to follow the process

for notice and comment by the public;

   5. That this Honorable Court issue a writ of mandamus compelling Defendants to

promptly complete all administrative processing within sixty days;

   6. That this Honorable Court take jurisdiction of this matter and adjudicate

Mohammed Soghar’s immigrant visa pursuant to this Court’s declaratory judgment

authority;

   7.   That this Honorable Court issue a writ of mandamus compelling Defendants to

issue an immigrant visa to Mohammed Soghar;


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   8. That this Honorable Court issue a writ of mandamus compelling Defendants to

explain to Plaintiffs the cause and nature of the delay and inform Plaintiffs of any action

they may take to accelerate processing of the visa application;

   9. Attorney’s fees, legal interests, and costs expended herein, pursuant to the Equal

Access to Justice Act, 28 U.S.C. § 2412;

   10. Such other and further relief as this Honorable Court may deem just and proper.




                                                          RESPECTFULLY SUBMITTED
                                                         this 3rd day of September, 2019


                                                                 /s/ James O. Hacking, III
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